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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

 In re:                                                             Chapter 7

 STANSBERRY, ANTHONY WAYNE                                          Case No. 8:14-bk-13668-KRM
 STANSBERRY, JENNIFER LYNN

           Debtor(s).

                             TRUSTEE’S MOTION TO COMPEL
                            TURNOVER OF NON-EXEMPT ASSETS

                                     NOTICE OF OPPORTUNITY TO
                                      OBJECT AND FOR HEARING

           Pursuant to Local Rule 2002-4, the Court will consider this motion, objection, or other matter
 without further notice or hearing unless a party in interest files an objection within thirty (30) days from the
 date set forth on the proof of service attached to this paper plus an additional three days for service. If you
 object to the relief requested in this paper, you must file your objection with the Clerk of the Court at Sam
 M. Gibbons U.S. Courthouse, 801 N. Florida Avenue, Suite 555, Tampa, FL 33602-3899, and serve a copy
 on the movant's attorney, Douglas N. Menchise, Esquire, 2963 Gulf to Bay Blvd., Suite 300, Clearwater,
 FL 33759.

 If you file and serve an objection within the time permitted, the Court may schedule and notify you of a
 hearing, or the Court may consider the objection and may grant or deny the relief requested without a
 hearing. If you do not file an objection within the time permitted, the Court will consider that you do not
 oppose the relief requested in the paper, will proceed to consider the paper without further notice or hearing,
 and may grant the relief requested.

          COMES NOW the Trustee, Douglas N. Menchise, by and through his undersigned

attorney, and hereby moves this Honorable Court to compel the Debtors to turn over the non-

exempt portion of their household goods and furnishings, misc. books and pictures, wearing

apparel, jewelry, golf clubs, bikes and animals and, in support, would show the Court the

following:

          1.      That the Debtors filed for relief from their creditors under Chapter 7 on

November 21, 2014 and converted their case to Chapter 7 on September 10, 2015.
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       2.      That Douglas N. Menchise is the duly-appointed and acting Chapter 7 Trustee

in the above-styled case.

       3.      That the Debtors have claimed as exempt $1,933.00 of their household goods

and furnishings with a scheduled value of $5,000.00, leaving a non-exempt portion of $3,067.00.

       4.      That the Debtors have not claimed as exempt any portion of their misc. books

and pictures, wearing apparel, jewelry, golf clubs, bikes and animals with a with a total

scheduled value of $1,253.00.

       5.      That, to date, the Debtors have not bought back or turned over to the Trustee

their non-exempt assets.

       WHEREFORE, the Trustee moves this Honorable Court for an order compelling the

Debtors to turnover for liquidation the non-exempt portion of their household goods and

furnishings, misc. books and pictures, wearing apparel, jewelry, golf clubs, bikes and animals

or otherwise make appropriate buy back arrangements with the Trustee.

       I HEREBY CERTIFY that true and correct copies of the foregoing were delivered via

CM/ECF to the Office of the United States Trustee, and Debtors’ Attorney, Jonathan A.

Semach, Esquire, and by UNITED STATES MAIL to the Debtors, Anthony Wayne and Jennifer

Lynn Stansberry, 20001 Pergola Bend Lane, Tampa, FL 33647, on March 31, 2016.

                                                   /s/   Douglas N. Menchise
                                               DOUGLAS N. MENCHISE, ESQUIRE
                                               Florida Bar No. 214965
                                               2963 Gulf to Bay Blvd., Suite 300
                                               Clearwater, Florida 33759
                                               (727) 797-8384 / phone
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